      Case 16-10478-TPA                        Doc 136
     Fill in this information to identify the case:
                                                               Filed 06/01/21 Entered 06/01/21 15:28:43                        Desc Main
                                                              Document Page 1 of 5
     Debtor 1              BRIAN CURTIS HADDOX


     Debtor 2              SHERRY LYNN HADDOX
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          16-10478TPA




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.

 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  US BANK TRUST NA - TRUSTEE TIKI SERIES                                           4

 Last 4 digits of any number you use to identify the debtor's account                         9   0   6   1

 Property Address:                             129 ELLIS AVE
                                               HERMITAGE PA 16148




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        3,072.81

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        3,072.81

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $        1,341.62

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $        1,341.62
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        4,414.43


 Part 3:             Postpetition Mortgage Payment


 Check one

 ý Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $     $1,024.27
         The next postpetition payment is due on                 7 / 1 / 2021
                                                                MM / DD / YYYY

 ¨ Mortgage is paid directly by the debtor(s).


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Debtor 1     BRIAN CURTIS HADDOX                                              Case number   (if known)   16-10478TPA
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)



 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date   06/01/2021


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     BRIAN CURTIS HADDOX                                         Case number   (if known)   16-10478TPA
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                             Amount
MORTGAGE ARR. (Part 2 (b))
06/25/2019   1122963    LSF10 MASTER PARTICIPATION TRUST      AMOUNTS DISBURSED TO CREDITOR                              128.96
07/29/2019   1126408    LSF10 MASTER PARTICIPATION TRUST      AMOUNTS DISBURSED TO CREDITOR                              130.76
08/27/2019   1129877    LSF10 MASTER PARTICIPATION TRUST      AMOUNTS DISBURSED TO CREDITOR                              130.19
09/24/2019   1133186    LSF10 MASTER PARTICIPATION TRUST      AMOUNTS DISBURSED TO CREDITOR                              129.60
10/24/2019   1136514    LSF10 MASTER PARTICIPATION TRUST      AMOUNTS DISBURSED TO CREDITOR                              122.36
11/25/2019   1140148    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                              121.81
12/23/2019   1143528    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                              121.26
01/28/2020   1146987    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                              121.73
02/25/2020   1150507    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                              121.17
03/23/2020   1153993    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                              120.63
04/27/2020   1157453    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                              120.04
05/26/2020   1160786    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                              100.56
06/26/2020   1163929    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                              100.01
07/29/2020   1167045    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                               99.44
08/25/2020   1170121    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                               98.83
09/28/2020   1173213    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                               98.19
10/26/2020   1176310    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                              104.24
11/24/2020   1179378    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                              103.44
12/21/2020   1183099    US BANK TRUST NA - TRUSTEE TIKI SERIESAMOUNTS
                                                               IV TRUST DISBURSED TO CREDITOR                            377.49
01/25/2021   1186118    US BANK TRUST NA - TRUSTEE TIKI SERIESAMOUNTS
                                                               IV TRUST DISBURSED TO CREDITOR                            113.82
02/22/2021   1189241    US BANK TRUST NA - TRUSTEE TIKI SERIESAMOUNTS
                                                               IV TRUST DISBURSED TO CREDITOR                            111.79
03/26/2021   1192560    US BANK TRUST NA - TRUSTEE TIKI SERIESAMOUNTS
                                                               IV TRUST DISBURSED TO CREDITOR                            396.49
                                                                                                                       3,072.81

Post Petition Claim (1305) (Part 2 (d))
03/26/2021 1192560      US BANK TRUST NA - TRUSTEE TIKI SERIESAMOUNTS
                                                               IV TRUST DISBURSED TO CREDITOR                          1,341.62
                                                                                                                       1,341.62

MORTGAGE REGULAR PAYMENT (Part 3)
01/25/2017              BENEFICIAL CDC/BENEFICIAL MORTGAGE CO++
                                                           REALLOCATION OF CONTINUING DEBT                             3,169.84
01/27/2017   1026452    BENEFICIAL CDC/BENEFICIAL MORTGAGE CO
                                                           AMOUNTS DISBURSED TO CREDITOR                               1,893.75
02/24/2017   1029947    BENEFICIAL CDC/BENEFICIAL MORTGAGE CO
                                                           AMOUNTS DISBURSED TO CREDITOR                                 964.14
03/28/2017   1033324    BENEFICIAL CDC/BENEFICIAL MORTGAGE CO
                                                           AMOUNTS DISBURSED TO CREDITOR                                 977.59
05/25/2017   1039968    BENEFICIAL CDC/BENEFICIAL MORTGAGE CO
                                                           AMOUNTS DISBURSED TO CREDITOR                               1,988.68
06/27/2017   1043315    BENEFICIAL CDC/BENEFICIAL MORTGAGE CO
                                                           AMOUNTS DISBURSED TO CREDITOR                               1,002.80
08/25/2017   1049975    BENEFICIAL CDC/BENEFICIAL MORTGAGE CO
                                                           AMOUNTS DISBURSED TO CREDITOR                               2,675.26
10/25/2017   1058064    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,386.15
11/21/2017   1061337    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,391.24
12/21/2017   1064619    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,395.80
01/25/2018   1068058    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               2,799.74
03/28/2018   1074427    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               2,815.24
05/25/2018   1080925    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               3,125.50
07/26/2018   1087286    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               3,093.83
08/28/2018   1090500    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                                 487.31
09/25/2018   1093632    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                                 308.83
10/29/2018   1096880    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,862.17
11/27/2018   1100018    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,109.23
12/21/2018   1103124    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,129.93
01/25/2019   1106331    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,233.03
02/25/2019   1109581    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,039.39
03/25/2019   1112875    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,024.27
04/26/2019   1116168    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,024.27
05/24/2019   1119566    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,024.27
06/25/2019   1122963    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,024.27
07/29/2019   1126408    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,024.27
08/27/2019   1129877    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,024.27
09/24/2019   1133186    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,024.27
10/24/2019   1136514    LSF10 MASTER PARTICIPATION TRUST   AMOUNTS DISBURSED TO CREDITOR                               1,024.27
11/25/2019   1140148    MTGLQ INVESTORS LP                 AMOUNTS DISBURSED TO CREDITOR                               1,024.27
12/23/2019   1143528    MTGLQ INVESTORS LP                 AMOUNTS DISBURSED TO CREDITOR                               1,024.27
01/28/2020   1146987    MTGLQ INVESTORS LP                 AMOUNTS DISBURSED TO CREDITOR                               1,024.27
02/25/2020   1150507    MTGLQ INVESTORS LP                 AMOUNTS DISBURSED TO CREDITOR                               1,024.27
03/23/2020   1153993    MTGLQ INVESTORS LP                 AMOUNTS DISBURSED TO CREDITOR                               1,024.27

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Debtor 1     BRIAN CURTIS HADDOX                                         Case number   (if known)   16-10478TPA
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                             Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
04/27/2020   1157453    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                            1,024.27
05/26/2020   1160786    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                            1,024.27
06/26/2020   1163929    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                            1,024.27
07/29/2020   1167045    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                            1,024.27
08/25/2020   1170121    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                            1,024.27
09/28/2020   1173213    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                            1,024.27
10/26/2020   1176310    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                            1,024.27
11/24/2020   1179378    MTGLQ INVESTORS LP                    AMOUNTS DISBURSED TO CREDITOR                            1,024.27
12/21/2020   1183099    US BANK TRUST NA - TRUSTEE TIKI SERIESAMOUNTS
                                                               IV TRUST DISBURSED TO CREDITOR                          1,024.27
01/25/2021   1186118    US BANK TRUST NA - TRUSTEE TIKI SERIESAMOUNTS
                                                               IV TRUST DISBURSED TO CREDITOR                          1,024.27
02/22/2021   1189241    US BANK TRUST NA - TRUSTEE TIKI SERIESAMOUNTS
                                                               IV TRUST DISBURSED TO CREDITOR                          1,024.27
03/26/2021   1192560    US BANK TRUST NA - TRUSTEE TIKI SERIESAMOUNTS
                                                               IV TRUST DISBURSED TO CREDITOR                          1,024.27
04/26/2021   1195793    US BANK TRUST NA - TRUSTEE TIKI SERIESAMOUNTS
                                                               IV TRUST DISBURSED TO CREDITOR                          1,024.27
05/25/2021   1198912    US BANK TRUST NA - TRUSTEE TIKI SERIESAMOUNTS
                                                               IV TRUST DISBURSED TO CREDITOR                          1,027.27
                                                                                                                      63,507.74




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                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

BRIAN CURTIS HADDOX
SHERRY LYNN HADDOX
129 ELLIS AVENUE
HERMITAGE, PA 16148

DANIEL P FOSTER ESQ**
FOSTER LAW OFFICES
1210 PARK AVE
MEADVILLE, PA 16335

US BANK TRUST NA - TRUSTEE TIKI SERIES IV TRUST
C/O SN SERVICING CORP(*)
323 5TH ST
EUREKA, CA 95501

D ANTHONY SOTTILE ESQ
SOTTILE & BARILE LLC
394 WARDS CORNER RD STE 180
LOVELAND, OH 45140




6/1/21                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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